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   State of    Texas
   County of Dallas


                                                Affidavit of Gilda Kessner Psy.D.



   Re   John Steven                 Gardner



          Comes the                 Affiant Gilda Kessner Psy.D.                             who         after    first   being duly sworn             states

   the following




   1.     I    am a clinical          psychologist              licensed       and qualified to practice Psychology in the State

          of Texas.             I   have personal           knowledge of the                 facts contained in this affidavit                      and    am
          competent             to    testify    about them.



   2.     I    received         a Bachelors           degree in Social                 Work          from Abilene Christian                      College in
          1974.       I   received          a Masters degree                   in   Human       Relations              and Business from             Amber
          University            in    1987 and a Doctor of Psychology                           Psy.D.             in Clinical Psychology from

          Baylor University                  in 1996.            I   completed         three years of applied                   doctoral         training at

          Baylor University                  by serving          in three clinical            settings       from 1992 to 1995.              I   concluded

          my     doctoral degree                training with an American Psychological                                    Association           accredited

          pre-doctoral               internship       in Clinical Psychology                        at   the Arkansas           Division of Mental

          Health      Services from 1995 to 1996.                              During        the pre-doctoral             internship        I    completed
          two     rotations           on   the Arkansas              State Hospital          Forensic            Inpatient    Unit   evaluating           and

          treating        adults      who      were involved in the                  state    criminal           justice system.        I   waslicensed

          to practice psychology                   in the         State of Texas             in 1997..



   3.     Since becoming                   licensed     I   have provided professional psychology services in agency

          settings relating                to forensic and clinical                 psychology              with juvenile        offenders.         In 1996

          and 1997          I       was employed as an Associate                       Clinical Psychologist                    for the Texas        Youth
          Commission.                 In this capacity I developed                        and provided                 a range of consulting              and

         psychological                services     in   Texas maximum-security                               juvenile        prison system.           I   was
          instrumental               in establishing            the operation          of the psychological                  services       in   what was
          at    the   time Texas                 largest juvenile               prison.         I    have         also    been employed as the

          Coordinator for the Detention                               Center Psychology                     Services       of the Dallas County

         Juvenile         Services.            In that capacity            I   developed and coordinated                         psychotherapeutic
         services         for       detained     juvenile         offenders including                     the design       and management of a

         pilot project for treatment                        and rehabilitation of juveniles                            with significant criminal

         histories.         I       was    Director     of Treatment for the Dallas Youth Academy                                           operated by
         Correctional                 Services      Corporation                 under        contract            for   Dallas     County          Juvenile

         Services.          In that capacity                I   directed the         implementation of a short-term                              treatment

                          for court ordered juvenile                       offenders.
         program




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   John Steven     Gardner




   4.     Since July             1998       I   have     maintained           a private       practice         in      clinical     and      forensic

          psychology             in    Dallas      Texas.        My       clients     are    both        public        agencies         and private

          individuals.                 My       practice       includes           forensic     psychological                  evaluations        and

          consultations            for adult criminal            and county juvenile                    systems.            As   required     by the
          Board      of Examiners                of Psychologists             I   have     maintained           continuing          education       in

          clinical       psychology with a special emphasis in the area of forensic psychology.


   5.     I   have       been recognized            _
                                                        as   a psychological              expert       witness regarding                sentencing

          determination               issues     including      mitigation         and future dangerousness in state                       courts   in

         Texas       and     I   have     testified      in capital       sentencing         proceedings.                I   have presented         at

         defense attorney training seminars in Texas regarding                                         psychological          issues relevant to

         capital         sentencing.



   6.    I    am     a    member          of several          professional          organizations              including          the    American

         Psychological                Association the Texas                Psychological Association and the American
         Association         on Intellectual        and Developmental               Disabilities.




   7.    In June         2006     I   was   contacted         by attorneys for John Steven                     Gardner about serving                as

         an expert witness.                Their initial inquiry           was regarding               mitigation        issues but they later

         included         risk    assessment as an area they wanted                          me        to cover in preparation               for the

         capital     murder           trial..




   8.    In   my     consultation           with Mr. House and Mr. Hulcrantz                               I   followed the standard                of

         practice for forensic psychology                        capital sentencing            evaluations.             I    conducted       several

         interviews         with Mr. Gardner reviewed                         documents            supplied       to    me by      the attorneys

         and had limited interviews                          with family members.                  I   interviewed his sister Elaine

         Holifield         by telephone           and in person         when       she came to Texas for the                      trial. I   did not.

         administer          any      clinical    psychology          tests    or forensic         assessment instruments                     to Mr.

         Gardner.



   9.    In preparing            for   my work      on the      trial I   reviewed documents and statements                              provided

         to   me by       the defense           attorneys.



         Records Reviewed
         Forrest County               General Hospital

         First   National         Bank of         Mann
         Collin County                Sheriffs    Office

         Southwestern             Institute      of Forensic          Sciences       at   Dallas 1/28/05

         Orchid Cellmark Laboratory Report 3/30/05

         Parkland Health and Hospital System

         Texas     Department of Public                      Safety

         Irving Police           Department 12/11/92
         Jones County Sheriff Department                          1982 2005
         Mississippi         Crime Lab            1983
         Hinds County Coroner                     1983
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            John Steven Gardner



                  University       Hospital        Jackson        MS 1983
                  Mississippi          State Penitentiary

                  Employment Records
                               Wal-Mart
                                                                Inc.
                               Daycor     Enterprises

                  Military Personnel Records

                  Letters and Notes

                  -            Tammy       Gardner
                  -            Justin    White
                  -            John Steven        Gardner

                  -            Lori Osborn

                  -            Raquel     E.   B
                  Voluntary Statements
                  -            Candace       Akins

                  -            Todd Eades
                  -            Diane Glassel

                  -            David Holifield

                            Elaine       Holifield
t
                                        Mangum
    -




                  -         Brent
                  -         Jessie      Mangum
                  -            Stacy    Moody
                  -         Joyce Richardson
                  -         Nell       Terrell

                  -         Jacquie       West
                  -         Erin Whitfield
                  -         Williams White

                  -         John White

                            Jessica      White
                            David       Young

                                                              of data are customarily                  and reasonably           relied
                  These    types       and sources                                                                                       upon by
                                                                                                      on   relevant    issues    in this field of
                  forensic psychology             experts       in   coming        to     opinions

                  expertise.



                      also had telephone         conferences           and    in              conferences      with the defense          attorneys
           10.    I                                                                person
                  and various          members of         the    defense           team.      I   voiced    my   concern      that there     were

                  important corroborating                witnesses        who        were not being located             and interviewed for

                                       Ms.     Shelli    Schade         the    social       worker     hired     by    the   attorneys    for the
                  mitigation.
                                                        indicated that people in small towns                      would       not be willing to
                  mitigation      investigation

                  reveal   information and therefore corroborating                                 information could          not   be obtained

                  from them.                                  with the defense               team     and Ms. Holifield          proved     to be
                                       The.meeting
                  difficult.      Ms.     Holifield       kept         looking       to    Ms. Schade        before she would             answer

                  questions       at   one point        she    became         very      tearful      and asked    if   she could just speak

                  with Ms. Schade.             Iinstructed       Ms. Holifield that she was going to have to answer                            my


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   John Steven Gardner



           questions         without coaching by Ms. Schade.                            She stated that she was concerned                               if   she

           spoke with anyone but Ms. Schade that the information
                                                                                                              could   come out         at trial.           Ms.

           Schade appeared                to have             developed an overly close relationship                        with the defendant

           and his family             members such                   that she     seemed        to take       on   the     role of counselor                  to

           them instead             of mitigation               investigator.      Ms. Schade              did not provide        me with               notes

           from any interviews                      she conducted.           It   was   my impression that                 she did not provide

           summary           notes to the attorneys either.



    11.    The      attorneys also retained Kate                Allen Ph.D. social worker to address the concept
           of attachment and               its      relationship to Mr. Gardners psychological development.



                                                                      time of                                              settled     that           would
    12.    It is    my recollection                 that at the                   trial   the       attorneys had.                                I



           testify    on risk assessment and Dr. Allen was going to                                      testify   on     attachment.         I       believe

           I   had scant information                    for the development             of a coherent mitigation                theme due to the

           absence of detailed and corroborated                              information            about Mr. Gardners background.

           There was an abundance                         of informationfrom Mr. Gardner but without corroborating

           witnesses         my ability           to present mitigation            information           to   the jury    was   necessarily very

           limited.



   13.     At   the time of trial             I   was         fully prepared to testify             on   the issue of risk assessment

           relevant to Mr.            Gardners                risk for acts of violence              while incarcerated           in the general


           population         for a capital              sentence.      I   was   present       along with Dr. Allen                  who was              also

                             to testify.            The defense             attorneys     decided to           rest   after calling their lay
           expecting

           witnesses         and did not               call   the expert     witnesses.         I   do   recall    that    one of the     attorneys

           stated they did not believe                         the State had proved its case relevant                      to the future              danger

           issue.




   14.     I   affirm       that    the   foregoing paragraphs                     are    true       and      correct      to   the    best           of     my
           knowledge.




                   to and sworn before                    me by      Gilda Kessner on               this
                                                                                                              a7           day of      May            2009.
   Subscribed




   Gil a Kessner           Psy.D.

   Psychologist




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                                    NOTARY PUBLIC
                                                  ST    CLAIR
                                                                                                         Notary Public           State of Texas



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                                      State    of   Texas

                              Comm. Exp. 09-08-2012
                                                                                          My        Commission expires



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